Case 3:18-cv-02040-DMS-WVG Document 14 Filed 10/15/18 PageID.1253 Page 1 of 2




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    7
                      IN THE UNITED STATES DISTRICT COURT
    8
                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
    9
        RESMED INC., a Delaware                Case No. 18-cv-2040 DMS -WVG
  10
        Corporation, RESMED CORP, a            ORDER GRANTING JOINT
  11    Minnesota Corporation, and RESMED      MOTION TO STAY CASE
  12    LTD, an Australian Corporation,

  13               Plaintiffs,                 Hon. Dana M. Sabraw
  14         v.
  15    FISHER & PAYKEL HEALTHCARE
  16    LIMITED, a New Zealand Corporation,
        FISHER & PAYKEL HEALTHCARE
  17    INC., a California Corporation, and
  18    FISHER & PAYKEL HEALTHCARE
        DISTRIBUTION INC., a California
  19    Corporation,
  20
                   Defendants.
  21
  22    AND RELATED COUNTERCLAIMS.
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                                                    Case No. 18-cv-2040 DMS (WVG)
                                                                             Order
Case 3:18-cv-02040-DMS-WVG Document 14 Filed 10/15/18 PageID.1254 Page 2 of 2




    1         This Court, having considered the parties’ joint motion to stay the case, and
    2   for good cause shown, HEREBY ORDERS THAT:
    3         1.    The motion is GRANTED.
    4         2.    All claims and counterclaims in this action are now stayed pending
    5   resolution of ResMed’s ITC action that was filed on August 31, 2018 and
    6   instituted by the International Trade Commission as Investigation No. 337-TA-
    7   1134 on October 1, 2018. Counsel shall inform the Court when the ITC action
    8   has concluded.
    9         IT IS SO ORDERED.
  10    Dated: October 15, 2018
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                                                           Case No. 18-cv-2040 DMS (WVG)
                                                                                    Order
